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 6                                UNITED STATES DISTRICT COURT
 7                                       DISTRICT OF NEVADA
 8                                                      ***
 9     WILLIAM RANDOLPH,                                  Case No. 2:20-cv-00097-RFB-NJK
10                                         Plaintiff,                          ORDER
11            v.
12     KSNV, et al.,
13                                      Defendants.
14
15           Before the Court for consideration is the Report and Recommendation [ECF No. 3] of the

16    Honorable Nancy J. Koppe, United States Magistrate Judge, entered January 15, 2020.

17           A district court “may accept, reject, or modify, in whole or in part, the findings or

18    recommendations made by the magistrate.” 28 U.S.C. § 636(b)(1). A party may file specific

19    written objections to the findings and recommendations of a magistrate judge. 28 U.S.C. §

20    636(b)(1); Local Rule IB 3-2(a). When written objections have been filed, the district court is

21    required to “make a de novo determination of those portions of the report or specified proposed

22    findings or recommendations to which objection is made.” 28 U.S.C. § 636(b)(1); see also Local

23    Rule IB 3-2(b). Where a party fails to object, however, a district court is not required to conduct

24    “any review,” de novo or otherwise, of the report and recommendations of a magistrate judge.

25    Thomas v. Arn, 474 U.S. 140, 149 (1985). Pursuant to Local Rule IB 3-2(a), objections were due

26    by January 29, 2020. No objections have been filed. The Court has reviewed the record in this

27    case and concurs with the Magistrate Judge’s recommendations.

28    ...
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 1          IT IS THEREFORE ORDERED that the Amended Report and Recommendation [ECF
 2    No. 3] is ACCEPTED and ADOPTED in full.
 3          IT IS FURTHER ORDERED that this case is DISMISSED with prejudice
 4          The Court Clerk is directed to mail a copy of this order to Plaintiff.
 5
            DATED: February 11, 2020.
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                                                          _____________________________
 7                                                        RICHARD F. BOULWARE, II
 8                                                        United States District Judge

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